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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



 BRYCE CARRASCO,

        Plaintiff,                                        Civil Action

                -against-                                 No. 21-532-SAG

 M&T BANK,

        Defendant.



                 PLAINTIFF’S SHORT RESPONSE IN HIS OWN DEFENSE

       Plaintiff comes now to supply a brief response to the reply memorandum filed by M&T

Bank, ECF 92, to clarify that the memorandum of law submitted as ECF 91 was distinct from the

reply to the opposition to the motion for summary judgment. Plaintiff submitted the response in

opposition to M&T’s cross motion four days after submitting his reply to M&T’s opposition to

his original motion for summary judgment. This was not due to his ignorance of the local rules or

a conscious disregard thereof, and he genuinely tried to complete both pleadings in fourteen days

but was physically unable to finish writing both documents in fourteen days. There was nothing

intentional about the sequence of the filings, and he did everything within his power to submit

both documents as soon as he could. Considering that M&T filed thirty exhibits which were

obscurely cross referenced throughout the memorandum of law, Plaintiff believes that the four

extra days was justified based on the circumstances, and that M&T’s arguments to disregard the

untimely filing should not be accepted because it would be unfair and contrary to the spirit of the

federal rules of civil procedure. Rule 8 says that “pleadings must be construed so as to do

justice.” This rule applies here because disregarding the pleadings of the Plaintiff due to physical
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limitations would be manifestly unjust, as he has no assistance, while the defendant has an army

of in-house lawyers to aid in preparing their pleadings. Plaintiff has already requested leniency

based on his status as a self-represented litigant, and asks the Court to be mindful that Plaintiff is

proceeding in good faith to meet the requirements of the Federal Rules and the Local Rules.

M&T’s cross motion was truly difficult to comprehend and contained obscure footnotes and

references throughout the document which made the task of responding an arduous mental

exercise. Plaintiff submitted his response as soon as he was finished, and the court should not

disregard the filing, which involved a lot of hard work and effort, and Plaintiff requests that the

filing is fairly considered as a proper response in opposition to M&T’s cross motion for

summary judgment.

                                          *       *       *

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 2, 2021. /s/Bryce Carrasco.

                                          Bryce Carrasco
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